w=. Case 1:23-cr-00008-WFK Document118 Filed 04/15/25 Page 1 of 2 PagelD #: 596

U.S. DEPARTMENT OF JUSTICE
Federal Bureau of Prisons
Metropolitan Detention Center

80 29" street
Brooklyn, New York 11232

April 12, 2025

To HONORABLE JUDGE WILLIAM F. KUNTZ

RE: Jones, Tajhai
Reg. No: 39159-510

This letter is to notify you of the above referenced inmates’
character and work ethic. Mr. Jones, Tajhai worked as An orderly
here at MDC Brooklyn in the Chaplain Department. During his
tenure at MDC Brooklyn as a chaplain orderly, he is responsible
for ensuring the floors, walls are cleaned and the table and
chairs are set up for any services, groups, classes or programs.
He works hard everyday to accomplish the Bureau of Prison’s
mission, working with minimal supervision. He cleans the common
area of the chaplain ensuring the sanitation in those areas up
to ACA standard ready. Lastly let it be noted that he completed
two courses;

Making Time Count and Embracing Interfaith-First Step Act
Program.

Should you have any questions or require additional information,
please contact his Mentor Coordinator Johnson, at (718) 840-5000.

Sincerely,

DEFENDANT'S
EXHIBIT

. CASE
Men Coordinator, MDC Brooklyn NO. LanlO-2

EXHIBIT
NO.

U.S. DEPARTMENT OF JUSTICE
Federal Bureau of Prisons
Metropolitan Detention Center

SO 29" street
Brooklyn, New York 11232

April 12, 2025

To HONORABLE JUDGE WILLIAM F. KUNTZ

RE: Jones, Tajhai
Reg. No: 39159-510

This letter is to notify you of the above referenced inmates’
character and work ethic. Mr. Jones, Tajhai worked as a Unit
orderly here at MDC Brooklyn in unit K83. During his tenure at
MDC Brooklyn as a foodservice orderly, he is responsible for
ensuring all food trays are accounted for, clean and all inmates
are fed in a timely fashion for breakfast, lunch, and diner.
Afterwards, he’s responsible for ensuring the kitchen is at its
highest levels of sanitation ready for the next meal to be
prepared and fed. He works hard everyday to accomplish the
Bureau of Prison’s mission, working with minimal supervision. He
cleans the common area of the unit ensuring the sanitation in
those areas up to ACA standard ready.

Should you have any questions or require additional information,

please contact his Unit Manager, N. Bullock, at (718)840-5000,
ext. 5879.

Sincerely,

‘ L
N. Bullock

Unit Manager, C Brooklyn
